     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 1 of 10 Page ID #:270




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7
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8      U.S. Department of Justice,
       Office of Justice Programs
9
                               UNITED STATES DISTRICT COURT
10
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
                                     EASTERN DIVISION
12
13 THE APPEAL, INC. and ETHAN                   No. 5:22-cv-02111-WLH (AFM)
   COREY,
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               Plaintiffs,                      JOINT RULE 26(F) REPORT
15
               v.                               Scheduling Conference: November 17,
16
                                                2023
17 UNITED STATES DEPARTMENT OF                  Time: 9:30 a.m.
   JUSTICES OFFICE OF JUSTICE                  Courtroom: 9B
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   PROGRAMS,                                    Complaint: November 28, 2022
19             Defendant.                       Answer: February 6, 2023
                                                Proposed Trial Date: November 14, 2024
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21                                              Hon. Wesley L. Hsu
22                                              United States District Judge

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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 2 of 10 Page ID #:271




1         Pursuant to Fed. R. Civ. P. 26(f), Plaintiffs The Appeal Inc. and Ethan Corey and
2      Defendant United States Department of Justices Office of Justice Programs submit this
3      report.
4      1. Brief Statement of the Case
5         This action seeks the release of records from Defendant the United States Department
6      of Justices Office of Justice Programs pursuant to the Freedom of Information Act
7      (FOIA), 5 U.S.C. § 552.
8            Plaintiffs submitted three FOIA requests to Defendant seeking information
9      submitted to the Bureau of Justice Statistics (BJS) and the Bureau of Justice
10     Assistance (BJA) regarding deaths in custody, including pursuant to the Death in
11     Custody Reporting Act of 2000 and the Death in Custody Reporting Act of 2013
12     (DCRA 2013). See generally Complaint (ECF 1). This case overlaps substantially
13     with Gannett Satellite Information Network, LLC v. U.S. Dept of Justice, No. 1:22-cv-
14     475-BAH (D.D.C.) (Gannett), and involves many of the same documents and legal
15     issues.
16        In searches in response to Plaintiffs requests, Defendant has identified over 185,000
17     pages of potentially responsive records. See Complaint ¶¶ 21, 34. Defendant has
18     determined that all records responsive to Plaintiffs requests are exempt from disclosure
19     pursuant to FOIA Exemption 3, which applies to records that are:
20        Specifically exempted from disclosure by statute (other than section 552b of this title)
21        if that statute
22        (A)(i) requires that the matters be withheld from the public in such a manner as to
23        leave no discretion on the issue; or
24        (ii) establishes particular criteria for withholding or refers to particular types of
25        matters to be withheld; and
26        (B) if enacted after the date of enactment of the OPEN FOIA Act of 2009,
27        specifically cites this paragraph.
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 3 of 10 Page ID #:272




1      5 U.S.C. § 552(b)(3).
2            Defendant has also determined that additional FOIA exemptions likely apply to
3      the requested records, and proposes to complete processing of responsive records by
4      January 31, 2024.
5            This case was previously assigned to Judge Walter. The parties submitted a Rule
6      26(f) report dated March 3, 2023, proposing to resolve the applicability of Exemption 3
7      in partial summary judgment motions and to defer the resolution of any additional
8      issues pending the outcome of those motions. ECF 22. Judge Walter ordered the parties
9      to complete mediation by July 10, 2023. ECF 23.
10            On March 29, 2023, the D.C. District Court in Gannett held that Exemption 3 did
11     not apply to documents submitted under DCRA 2013, and Defendant subsequently
12     agreed to complete processing of responsive records in that case by October 26, 2023.
13     The parties conferred and agreed that mediation would not be productive in this case;
14     accordingly, Plaintiff moved for a status conference to determine next steps in this case.
15     ECF 26. The Court scheduled a conference for July 14, 2023. ECF 28. The parties, by
16     joint stipulation, agreed to re-schedule the conference, first to August 25, 2023, ECF 32,
17     and then to November 17, 2023, ECF 34.
18           In light of the October 26, 2023, processing deadline in Gannett, the parties
19     agreed that the processing of records in that case would assist the parties in clarifying the
20     issues in this case that may require judicial resolution, and jointly stipulated to vacating
21     the scheduling order. ECF 34. The Court vacated the existing deadlines in this case and
22     ordered a new Rule 26(f) report. ECF 35; ECF 36 (clarifying deadline).
23            The parties are in agreement that this case may appropriately be resolved on
24     summary judgment motions after Defendant has completed processing responsive
25     records. See Animal Legal Defense Fund v. U.S. FDA, 836 F.3d 987, 989 (9th Cir. 2016)
26     (en banc; per curiam) (Most FOIA cases are resolved by the district court on summary
27     judgment, with the district court entering judgment as a matter of law.).
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 4 of 10 Page ID #:273




1      2. Subject Matter Jurisdiction
2         This Court has subject matter jurisdiction under 5 U.S.C. § 552, 5 U.S.C. § 702, and
3      28 U.S.C. § 1331. No issues exist regarding personal jurisdiction or venue, and no
4      parties remain to be served.
5      3. Legal Issues
6            a. Whether Defendant conducted an adequate search reasonably calculated to
7               uncover relevant documents;
8            b. Whether Defendant properly withheld records or portions of records under the
9               FOIAs exemptions, 5 U.S.C. § 552(b).
10     4. Parties, Evidence, etc.
11              Plaintiffs: Ethan Corey; The Appeal, Inc. Plaintiffs filed the Certification as to
12              Interested Parties or Persons required by Local Rule 7.1-1 on November 28,
13              2022, see ECF 3, and reported that The Appeal, Inc. is a private, non-
14              governmental entity with no corporate parents, affiliates and/or subsidiaries
15              which are publicly held, and therefore no publicly-held corporation owns 10%
16              or more of its stock.
17              Defendant: United States Department of Justices Office of Justice Programs.
18              Witnesses: The parties agree that this case may be resolved on summary
19              judgment, and will not require witnesses. To meet its burden, the agency may
20              rely on affidavits or declarations and other evidence which show that the
21              documents are exempt from disclosure. Lane v. DOJ, 523 F.3d 1128, 1135-36
22              (9th Cir. 2008). Summary judgment may be granted solely on the basis of
23              agency affidavits or declarations if they contain reasonably detailed
24              descriptions of the documents and allege facts sufficient to establish an
25              exemption. Id. at 1136 (citing Lewis v. IRS, 823 F.2d 375, 378 (9th Cir. 1987))
26              (district court need look no further).
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 5 of 10 Page ID #:274




1               Key documents: Agency affidavits or declarations establishing the adequacy of
2               Defendants search and the basis for withholding.
3      5. Damages
4         The parties agree that damages are not at issue in this case. Plaintiffs seek only
5      declaratory and injunctive relief, and an award of costs and fees, under the FOIA. ECF 1
6      at 9-10. The waiver of sovereign immunity under the FOIA gives the Court jurisdiction
7      to enjoin the agency from withholding agency records improperly withheld and to order
8      the production of any agency records improperly withheld from the Plaintiffs. 5 U.S.C. §
9      552(a)(4)(B); Spurlock v. FBI, 69 F.3d 1010, 1015 (9th Cir. 1995).
10     6. Insurance
11        There is no insurance for this matter.
12     7. Motions
13           a. Procedural Motions
14           The parties do not anticipate any motions seeking to add other parties or claims, or
15     to file amended pleadings, transfer venue, or challenge the courts jurisdiction.
16           b. Dispositive Motions
17           The parties agree that this case may be resolved on summary judgment. Pursuant
18     to the Courts Standing Order for Motions for Summary Judgment, the parties propose
19     the following deadlines:
20                  Defendant to complete processing and produce responsive records, with
21                  exempt portions redacted, on or before January 31, 2024.
22                  The parties to meet and confer on or before February 28, 2024
23                  Defendant, as moving party, to submit Defendants portion of the Joint
24                  Brief on or before March 13, 2024
25                  Plaintiffs to submit their portion of the Joint Brief on or before April 10,
26                  2024
27                  Defendant to file the Joint Brief on or before April 15, 2024
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 6 of 10 Page ID #:275




1                   Defendants reply due on or before April 24, 2024
2                   Motion Hearing on or before June 7, 2024
3            c. Class Certification Motions
4            Not applicable.
5      8. Manual for Complex Litigation
6         The parties do not believe the procedures contemplated in the Manual for Complex
7      Litigation are necessary in this case.
8      9. Discovery
9            a. Status of Discovery
10           Both parties have all of the relevant administrative records consisting of the
11     correspondence between Plaintiffs and Defendant in regard to Plaintiffs FOIA requests.
12     The parties agree that the records do not need to be reproduced at this time.
13           b. Discovery Plan
14        The parties agree that because this is a FOIA action, the usual discovery process does
15     not apply. FOIA cases are different from other civil matters subject to the discovery
16     provisions of the Federal Rules of Civil Procedure because the government bears the
17     burden to justify non-disclosure of documents. See 5 U.S.C. § 552(a)(4)(B); Lewis v.
18     IRS, 823 F.2d 375, 378 (9th Cir. 1987). While ordinarily the discovery process grants
19     each party access to evidence, in FOIA ... cases discovery is limited because the
20     underlying case revolves around the propriety of revealing certain documents. Lane v.
21     DOI, 523 F.3d 1128, 1134 (9th Cir. 2008). Discovery is only appropriate where an
22     agency has not taken adequate steps to uncover responsive documents, and discovery
23     requests will be denied where an agencys declarations are reasonably detailed,
24     submitted in good faith, and the court is satisfied that no factual dispute exists.
25     Lawyers Comm. for Civil Rights of S.F. Bay Area v. U.S. Dept of the Treasury, 534 F.
26     Supp. 2d 1126, 1132 (N.D. Cal. 2008) (citations and quotations omitted).
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 7 of 10 Page ID #:276




1         Thus, discovery is greatly restricted in FOIA actions and is generally limited to the
2      scope of an agencys search, its indexing and classification procedures, and similar
3      factual matters. See Schrecker v. U.S. Dept of Justice, 217 F. Supp. 2d 29, 35 (D.D.C.
4      2002), affd, 349 F.3d 657 (D.C. Cir. 2003). Moreover, permissible discovery
5      concerning such factual issues generally takes place, if at all, after the government
6      moves for summary judgment and submits supporting affidavits and memorandum of
7      law. See, e.g., Lane, 523 F.3d at 1134-35 (holding that district courts delay of
8      discovery with respect to plaintiffs FOIA claim until after summary judgment was
9      certainly within its discretion).
10        Accordingly, Defendants request that the Court stay the scheduling of any discovery
11     until after briefing is completed on summary judgment.
12           c. Discovery Cut-off
13           As stated above, the parties agree that any discovery should be stayed until after
14     any summary judgment motion has been decided.
15           d. Expert Discovery
16           The parties at this time do not intend to retain experts. The parties respectfully
17     request that the requirement to propose deadlines for providing the identity of any expert
18     as required by Rule 26(a)(2)(A) be stayed pending resolution of the cross-motions for
19     summary judgment on Exemption 3, as discussed under 7(b). Dispositive Motions
20     above.
21           e. Settlement Conference / Alternative Dispute Resolution (ADR)
22        Efforts to settle or resolve the case to date (Local Rule 26-1(c)): The parties agree
23     that this case is not amenable to settlement at this time, because Defendant takes the
24     position that all records responsive to Plaintiffs FOIA requests are specifically
25     exempted from disclosure by statute, and thus subject to FOIA Exemption 3.
26        Recommended settlement procedure (Local Rules 26-1(c) and 16-15): The parties
27     agree that mediation would not be fruitful in this case, for the reasons discussed above.
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 8 of 10 Page ID #:277




1      For purposes of compliance with the Courts Order (ECF 5), the parties would request
2      option 1, a mediation before a magistrate judge
3                   f. Trial
4                         i. Trial Estimate: The parties believe this FOIA case should be
5                              resolved by summary judgment. However, for purposes of
6                              compliance with the Scheduling Order, the parties estimate a 1-2 day
7                              trial.
8                        ii. Jury or Court Trial: Any trial will be to the Court.
9                       iii. Consent to Trial Before a Magistrate Judge: The parties do not
10                             agree to proceed before a magistrate judge.
11                       iv. Lead Trial Counsel: Thomas Burke of Davis Wright Tremaine LLP
12                             will serve as lead trial counsel for Plaintiffs. Plaintiffs anticipate that
13                             other attorneys from Davis Wright Tremaine LLP may also
14                             participate in trial, including Leena Charlton.
15                             Cormac Early, Trial Attorney in the U.S. Department of Justices
16                             Federal Programs Branch, will serve as lead trial counsel for
17                             Defendant.
18                  g. Independent Expert or Master
19            The parties do not believe an independent expert or special master is needed in
20     this case.
21                  h. Other Issues
22        The Gannett litigation in D.C. involves many of the documents and legal issues
23     relevant to this case. However, the parties do not anticipate that any decision in Gannett
24     will fully resolve this case, because Plaintiffs here seek documents that are not at issue in
25     Gannett.
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27            Dated: November 3, 2023              THOMAS R. BURKE
                                                   SARAH E. BURNS
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     Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 9 of 10 Page ID #:278




1                                           /s/ Leena M. Charlton
2                                           LEENA M. CHARLTON
3                                           Attorneys for Plaintiffs
                                            THE APPEAL, INC. and ETHAN COREY
4
5            Dated: November 3, 2023       BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney General
6                                          MARCIA BERMAN
                                           Assistant Branch Director
7                                          CORMAC A. EARLY (D.C. Bar No.
                                           1033835)
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11
                                            /s/ Cormac A. Early
12
                                            CORMAC A. EARLY
13                                          Trial Attorney
14                                          Attorneys for Defendant United States
                                            Department of Justices Office of Justice
15                                          Programs
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17                       ATTESTATION UNDER LOCAL RULE 5-4.3.4
18     I, Cormac A. Early, am the ECF User whose ID and password are being used to file this
19     JOINT RULE 26(F) REPORT. In compliance with Local Rules 5-4.3.4(a)(2), I hereby
       attest that Leena M. Charlton has concurred in this filing.
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21     DATED: November 3, 2023
                                            /s/ Cormac A. Early
22                                          ____________________________
23                                          CORMAC A. EARLY
                                            Trial Attorney
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Case 5:22-cv-02111-WLH-AFM Document 37 Filed 11/03/23 Page 10 of 10 Page ID #:279
                                         JUDGE
                           SCHEDULE OF PRETRIAL AND TRIAL DATES WORKSHEET
               Please complete this worksheet jointly and file it with your Joint Rule 26(f) Report.
                  The Court ORDERS the parties to make every effort to agree on dates.

   Case No.                          Case Name:


                                                                               Parties’ Joint        Court Order
                     Trial and Final Pretrial Conference Dates                     Date
                                                                               mm/dd/yyyy
    Check one: [ ] Jury Trial or [ ] Court Trial [ Magistrate Judge                             [ ] Jury Trial
    (Tuesday at       a.m., within 12 months of Scheduling Conference)                          [ ] Court Trial
    Estimated Duration:        Days
    Final Pretrial Conference (“FPTC”) [L.R. 16]
    (       at 3:00 p.m., at least 18 days before trial)

                                Event 1                               Weeks    Parties’ Joint
           Note: Hearings shall be on         at 1:30pm               Before       Date              Court Order
                Other dates can be any day of the week                FPTC2    mm/dd/yyyy
    Last Date to Hear Motion to Amend Pleadings / Add
    Parties [     ]
    Fact Discovery Cut-Off
                                                                       1
    (No later than deadline for filing dispositive motion)
    Expert Disclosure (Initial)                                        16
    Expert Disclosure (Rebuttal)                                       14
    Expert Discovery Cut-Off                                           14

    Last Date to Hear Motions
       Rule 56 Motion due at least 6 weeks before hearing;
       Opposition due 2 weeks after motion is filed before hearing;    12
       Reply due 1 week after Opposition is filed

    Last Date to Hear Daubert Motions

    Deadline to Complete Settlement Conference [L.R. 16-15]
    Select one: [ ] 1. Magistrate Judge (with Court approval)                                   [ ] 1. Mag. J.
                                                                        5
                    2. Court’s Mediation Panel                                                  [ ] 2. Panel
                    3. Private Mediation                                                        [ ] 3. Private
    Trial Filings (first round)
       Motions In Limine (except Daubert)
       Memoranda of Contentions of Fact and Law [L.R. 16-4]
       Witness Lists [L.R. 16-5]
       Joint Exhibit List [L.R. 16-6.1]
       Joint Status Report Regarding Settlement                         4
       Proposed Findings of Fact and Conclusions of Law [L.R. 52]
       (court trial only)
       Declarations containing Direct Testimony, if ordered (court
       trial only)
    Trial Filings (second round)
       Oppositions to Motions in Limine
       Joint Proposed Final Pretrial Conference Order [L.R. 16-7]
       Joint/Agreed Proposed Jury Instructions (jury trial only)
       Disputed Proposed Jury Instructions (jury trial only)
       Joint Proposed Verdict Forms (jury trial only)                   2
       Joint Proposed Statement of the Case (jury trial only)


       Evidentiary Objections to Declarations. of Direct Testimony
       (court trial only)
